Case 16-04078-jw         Doc 40     Filed 08/17/18 Entered 08/17/18 10:08:02           Desc Main
                                    Document      Page 1 of 4
                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

IN RE:                                           )   CASE NO.: 16-04078-JW
                                                 )   CHAPTER 13
JOYCE CAMPBELL WHITE                             )
FKA JOYCE CAMPBELL WALKER-WHITE,                 )
                                                     NOTICE OF MOTION FOR RELIEF FROM THE
FKA JOYCE CAMPBELL WALKER,                       )
FKA JOYCE CAMPBELL,                              )   AUTOMATIC STAY 11 U.S.C. § 362(D)
FKA JOYCE C. WHITE,                              )
                                                 )
DEBTOR



TO:      DEBTOR, DEBTOR’S ATTORNEY, TRUSTEE, AND THOSE NAMED IN THE
         ATTACHED MOTION

PLEASE TAKE NOTICE THAT A HEARING will be held on the attached Motion on:

         Date: September 6, 2018
         Time: 9:30 AM
         Place: 145 King Street, Room 225
                Charleston, SC 29401

       Within fourteen (14) days after service of the attached Motion, and the Notice of Motion,
accompanied by the Movant’s Certification of Facts, and a blank Certification of Facts form, any
party objecting to the relief sought shall:

         (1) File with the Clerk of this Court a written objection to the 11 U.S.C. § 362 Motion:
         (2) File with the Clerk of this Court a Certification of Facts; and
         (3) Serve on the Movant items 1 & 2 above at the address shown below:
         (4) File a Certificate of such Service with the Clerk of this Court.

         Should you fail to comply with this procedure you may be denied the opportunity to
         appear and be heard on this proceeding before the Court.

DATE OF ISSUANCE: August 13, 2018
MOVANT: NYMT Loan Trust 2014-RP1
ATTORNEY: Elizabeth R. Polk (7124)
ATTORNEY’S ADDRESS: Stern & Eisenberg Southern, PC
                    1709 Devonshire Drive
                    Columbia, SC 29204
                    Phone: (803) 462-5006
                    Fax: (803) 929-0830
                    Attorney for Movant
Case 16-04078-jw         Doc 40      Filed 08/17/18 Entered 08/17/18 10:08:02        Desc Main
                                     Document      Page 2 of 4
                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

IN RE:                                            )   CASE NO.: 16-04078-JW
                                                  )   CHAPTER 13
JOYCE CAMPBELL WHITE                              )
FKA JOYCE CAMPBELL WALKER-WHITE,                  )
                                                      MOTION FOR RELIEF FROM THE AUTOMATIC
FKA JOYCE CAMPBELL WALKER,                        )
FKA JOYCE CAMPBELL,                               )   STAY 11 U.S.C. § 362(D)
FKA JOYCE C. WHITE,                               )
                                                  )
DEBTOR
TO:      DEBTOR, DEBTOR’S ATTORNEY, TRUSTEE AND THOSE NAMED IN THE
         MOTION

         YOU WILL PLEASE TAKE NOTICE that the undersigned will appear before the Court

fourteen (14) days after service of this notice upon you, or as soon thereafter as this matter may

be heard, requesting that this Court lift the stay pursuant to 11 U.S.C. 362(d)(1) as to NYMT

Loan Trust 2014-RP1 (hereafter “Movant”) for the following reasons:

   1. The above-referenced Debtor filed a petition for relief under Chapter 13 of the U.S.

         Bankruptcy Code on 08/11/2016.

   2. James M. Wyman is the Trustee of the Debtor’s Estate and may claim an interest in the

         property, which is the subject of this action.

   3. Movant is the holder of a secured claim against the Debtor evidenced by a Mortgage,

         copy of which is attached hereto. The property covered by the Mortgage consists of Real

         Property and is more fully described in the Mortgage.

   4. The Debtor has failed to make payments and is now past due for the 10/01/2017-

         08/01/2018 payment(s) in the amount of $793.38. The total payment amount now past

         due is $8,173.86 accounting for Post-Petition Suspense funds in amount of $553.32. Also

         due is $181.00 filing fee in the Bankruptcy Court and $850.00 attorney’s fees for this

         action, making a total due of $9,204.86.         An additional payment will be due on

         09/01/2018. Movant, therefore, has not been provided adequate protection for its interest

         in the property and is suffering irreparable harm and injury.

   5. The Debtor does have equity in the Property.
Case 16-04078-jw     Doc 40      Filed 08/17/18 Entered 08/17/18 10:08:02              Desc Main
                                 Document      Page 3 of 4
  6. Movant is informed and believes that the Debtor has not handled this obligation in good

     faith and that this Court should issue its Order lifting the stay as to the security of 1463

     Orangeburg Road, Summerville, SC 29483, so that appropriate procedures may begin to

     protect the interest of 1463 Orangeburg Road, Summerville, SC 29483.

  7. The Movant agrees to waive any claim that may arise under 11 U.S.C. §503(b) and

     §507(b) as a result of this Order. The Movant further agrees that any funds realized from

     the liquidation of its collateral/foreclosure sale, in excess of all liens, costs and expenses,

     shall be paid to the Trustee.

  8. Relief from the stay for all purposes allowed by the Note, Mortgage, and applicable law,

     including, but not limited to, allowing Movant (and any successors or assigns) to proceed

     under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

     possession of the Property. In addition to foreclosure, relief from stay permits activity

     necessary to obtain possession of said collateral. Therefore, Movant is permitted to

     engage in loss mitigation activity, including short payoff, short sale, and the obtaining of

     a deed in lieu of foreclosure, including authorization to negotiate inferior liens. Movant

     is further permitted to send information regarding these loss mitigation options directly to

     the Debtor.

  9. That the Order be binding and effective despite any conversion of this bankruptcy case to

     a case under any other chapter of Title 11 of the United States Code.

  10. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

  11. That Movant be entitled to recover its reasonable fees and expenses incurred in

     connection with seeking the relief requested in this Motion.

  12. Such other relief as the Court deems proper.
Case 16-04078-jw       Doc 40     Filed 08/17/18 Entered 08/17/18 10:08:02            Desc Main
                                  Document      Page 4 of 4



   WHEREFORE, pursuant to 11 U.S.C. §362(d)(1) Movant hereby moves for an Order

modifying the automatic stay to permit action in the State Court against the subject property.

                                             STERN & EISENBERG SOUTHERN, P.C.

                                                  /s/ Elizabeth R. Polk
                                                  Elizabeth R. Polk (7124)
                                                  Stern & Eisenberg Southern, PC
                                                  1709 Devonshire Drive
                                                  Columbia, SC 29204
                                                  Phone: (803) 462-5006
                                                  Fax: (803) 929-0830
                                                  bpolk@sterneisenberg.com
                                                  Attorney for Movant
Dated: August 17, 2018
